        Case
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7
                                 UNITED STATES DISTRICT COURT
8
                                        DISTRICT OF NEVADA
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     UNITED STATES OF AMERICA,                      )     Case No.: 2:13-CR-147-LDG-GWF
11                                                  )
                    Plaintiff,                      )     ORDER GRANTING REQUEST TO
12                                                  )     CONTINUE SURRENDER DATE OF
            vs.                                     )     DEFENDANT ANDREW YIM
13                                                  )
     ANDREW YIM,                                    )
14                                                  )
                    Defendant                       )
15                                                  )
16
            GOOD CAUSE having been shown, the currently scheduled surrender date of July 13,
17
                                  September 14
     2015 is hereby continued to __________________, 2015 at the request of the defense. All terms
18
     of Defendant Andrew Yim’s pre-surrender release remain in full force and effect until that date.
19
                                             N/A
            IT IS FURTHER ORDERED THAT ______________________________________
20
     __________________________________________________________________________
21
     __________________________________________________________________________
22
     _________________________________________________________________________.
23

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26
     Dated: July ___, 2015                __________________________________________
27
                                          HONORABLE JUDGE OF THE DISTRICT COURT
28                                        LLOYD D. GEORGE




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